JS 45 (01/2008) ‘ ; REDACTED

 

 

 

Criminal Case Cover Sheet U.S. District Court
Place of Offense: Under Seal:YesX No_—— Surge Assigned: "Bie Ated |
City Superseding Indictment Criminal Number:
Fairfax &
County/Parish Loudoun Same Defendant _ New Defendant X
Magistrate Judge Case Number 1:19-mj-407 Arraignment Date:
Search Warrant Case Number
R 20/R 40 from District of
Related Case Name and No:

 

Defendant Information:
Juvenile --Yes = No X_FBI#

 

 

 

 

 

 

 

 

 

 

 

ANDREW JON
Defendant Name: THOMASBERG Alias Name(s)
Address: McLean, VA
Employment:
; Def
Birth date xx/xx/1998 SS# xxx-xx-6752Sex M_ Race Nationality Place of Birth
Height Weight _—_—Ss_ Hair Eyes Scars/Tattoos
Interpreter:X_ No ___Yes List language and/or dialect: - Automobile Description
Location Status:
Arrest Date
___Already in Federal Custody as of in
___Already in State Custody ___On Pretrial Release X__Not in Custody
X_Arrest Warrant Requested _—Fugitive ___ Summons Requested
___Arrest Warrant Pending ___ Detention Sought ___ Bond
Defense Counsel Information: _ . ;
Name: Court Appointed Counsel conflicted out:
Address: Retained ;
Telephone: Public Defender Federal Public Defender’s Office conflicted out: Yes
U.S. Attorney Information: .
SAUSA Andrew Mariano Telephone No: 703-299-3808 Bar #

 

Complainant Agency, Address & Phone Number_or Person & Title:
Shawn Matthews, Special Agent, Federal Bureau of Investigations

 

U.S.C. Citations:

 

 

 

Code/Section - Description of Offense Charged Count(s) Capital/Felony/Misd/Petty
False Statement during Acquisition
Set] 18 USC § 922(a)(6) of a Firearm 1 Felony
Possession of Firearm by

Set2 18U.S.C. § 922(g)(3) Controlled Substance Abuser 2 Felony
Set 3

 

 

(May be continued prfreverse

Date: Wi | 5/ | q signature of SAUSA: fy,

Ls

 
